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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

CONSENSYS SOFTWARE, INC.,                      §
                                               §
    Plaintiff,                                 §
                                               §
       v.                                      §
                                               §            Case No. 4:24-cv-00369-O
SECURITIES AND EXCHANGE                        §
COMMISSION, et al.,                            §
                                               §
    Defendants.                                §

                                            ORDER
       On April 26, 2024, Judge Means issued an order reassigning this matter due to two related

cases—National Association of Fund Managers, et al. v. SEC, 4:24-cv-00250-O (N.D. Tex. Mar.

18, 2024) (the “First Related Case”) and Crypto Freedom Alliance of Texas, et al. v. SEC, et al.,

4:24-cv-003610-O (the “Second Related Case”)—already pending before this Court. ECF No.

11. In the First Related Case, Defendant has appeared and the parties agreed to resolve this

matter on cross-motions for summary judgment. As such, the Court ORDERS Plaintiff to

confer with Defendants regarding (1) consolidation and (2) whether the briefing schedule in the

Related Case will also work in this matter. Plaintiff SHALL file a notice on the docket

describing the parties’ conference by no later than May 3, 2024.

       SO ORDERED on this 26th day of April, 2024.


                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE
